        Case 2:11-cr-00434-RFB-PAL             Document 626     Filed 09/12/14      Page 1 of 13




 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     KIMBERLY M. FRAYN
     Assistant United States Attorney
 3   333 Las Vegas Boulevard South
     Suite 5000
 4   Las Vegas, Nevada 89101
     702-388-6336
 5

 6                        UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
 7                                                -oOo-
 8

 9   UNITED STATES OF AMERICA,                     ) Case No.: 2:11-cr-00434-LDG-PAL
                                                   )
10                  Plaintiff,                     ) UNITED STATES’ MOTION
                                                   ) TO AMEND JUDGMENT
11                                                 )
            vs.                                    )
                                                   )
12   DELYANA NEDYALKOVA,                           )
                                                   )
13                                                 )
                    Defendant.
                                                   )
14

15           The United States, by and through the undersigned, respectfully moves the Court,

16   pursuant to Federal Rule of Criminal Procedure 36, to amend the Judgment in the above-
     captioned matter due to clerical error.
17

18                                        Points and Authorities

19           On February 28, 2014, the Court sentenced the defendant to twelve (12) months and one

20   (1) day imprisonment, with credit for time served, three years supervised release, a $100.00
     assessment fee, and restitution in the amount of $84,000.00 (Doc. No. 28). A copy of the
21
     Judgment is appended hereto as Exhibit A.
22
     ///
23   ///
24   ///
       Case 2:11-cr-00434-RFB-PAL            Document 626        Filed 09/12/14     Page 2 of 13




 1
            The Judgment did not identify the restitution recipients in relation to the amount of
 2   restitution ordered. A “Restitution List” is appended hereto as Exhibit B.

 3          Wherefore, the United States respectfully requests the Court to amend the Judgment to
     include the identity of the victim and the specific amount of monies due.
 4
                                                 Respectfully Submitted,
 5
                                                 DANIEL G. BOGDEN
 6                                               United States Attorney
 7
                                                  /s/ Kimberly M. Frayn
 8                                               KIMBERLY M. FRAYN
                                                 Assistant United States Attorney
 9

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                        EXHIBIT A
                  Case 2:11-cr-00434-RFB-PAL                    Document 626                 Filed 09/12/14        Page 4 of 13
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                                               District
                                     DISTRICT OF
                                    __________   NEVADA of __________
                                                    )
             UNITED STATES OF AMERICA               )      JUDGMENT IN A CRIMINAL CASE
                         v.                         )
                DELYANA NEDYALKOVA                  )
                                                    )      Case Number: 2:11-CR-434 LDG-PAL-10
                                                    )      USM Number: 46445-048
                                                    )
                                                    )      HERBERT SACHS (retained)
                                                                                     Defendant’s Attorney
THE DEFENDANT:
✔pleaded guilty to count(s)
G                                    2 of Superseding Indictment

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended              Count
 18 USC § 1349                     Conspiracy to Commit Wire Fraud                                            12/31/2011                  2s




       The defendant is sentenced as provided in pages 2 through                 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔Count(s)
G                all remaining counts                    G is     ✔are dismissed on the motion of the United States.
                                                                  G
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           2/28/2014
                                                                          Date of Imposition of Judgment




                                                                          Signature of Judge




                                                                           LLOYD D. GEORGE                              U.S. District Judge
                                                                          Name and Title of Judge


                                                                                                 March 2014
                                                                          Date
                  Case 2:11-cr-00434-RFB-PAL                     Document 626            Filed 09/12/14         Page 5 of 13
AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 — Imprisonment

                                                                                                        Judgment — Page   2       of   6
DEFENDANT: DELYANA NEDYALKOVA
CASE NUMBER: 2:11-CR-434 LDG-PAL-10


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
                       12 Months and 1 Day, with credit for time served.




    G The court makes the following recommendations to the Bureau of Prisons:




    G The defendant is remanded to the custody of the United States Marshal.

    G The defendant shall surrender to the United States Marshal for this district:
          G at                                       G a.m.      G p.m.       on                                              .

          G as notified by the United States Marshal.

    ✔
    G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ✔ beforenoon
      G         2 p.m. on       4/11/2014                            .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                           to

a                                                     , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
                   Case 2:11-cr-00434-RFB-PAL                        Document 626                Filed 09/12/14             Page 6 of 13
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             Sheet 3 — Supervised Release
                                                                                                                    Judgment—Page         3      of         6
DEFENDANT: DELYANA NEDYALKOVA
CASE NUMBER: 2:11-CR-434 LDG-PAL-10
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
        3 Years

        The defendant must report to the probation office in the districtto which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The
The Defendant
     defendantshall
                  shallnot
                        notunlawfully
                             unlawfullypossess  a controlled
                                          possess            substance.
                                                    a controlled        The defendant
                                                                   substance.          shall refrain
                                                                               The defendant         from
                                                                                                 shall     any unlawful
                                                                                                        refrain from any useunlawful
                                                                                                                              of a controlled
                                                                                                                                        use ofsubstance. The
                                                                                                                                               a controlled
defendant
substance.shall
              Thesubmit  to one shall
                   defendant    drug test within
                                      submit   to 15
                                                  onedays
                                                       drugof test
                                                              placement
                                                                   withinon
                                                                          15probation and at least
                                                                             days of release   fromtwoimprisonment
                                                                                                        periodic drug tests
                                                                                                                      and atthereafter,
                                                                                                                               least twoas periodic
                                                                                                                                           determined by the
                                                                                                                                                    drug tests
thereafter,
court, not toas determined
              exceed 104 testsbyannually.
                                  the court.
                                           Revocation is mandatory for refusal to comply.

G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

✔ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
G
✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G

G The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
  as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
       works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
                                                                                                                                 conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excus ed by the probation officer for schooling, training, o r other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by alaw enforcement officer;
 12)      the defendant shall not enter into any agreem ent to act a s an informer or a special agent of a law enforcem ent agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall perm it the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C — Supervised Release
                                                                                            Judgment—Page   4      of      6
DEFENDANT: DELYANA NEDYALKOVA
CASE NUMBER: 2:11-CR-434 LDG-PAL-10

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
 device, or other dangerous weapons, as defined by federal, state, or local law.

 2. Warrantless Search - You shall submit your person, property, residence, place of business and vehicle under your
 control to a search, conducted by the United States probation officer or any authorized person under the immediate and
 personal supervision of the probation officer, at a reasonable time and in a reasonable manner, based upon reasonable
 suspicion of contraband or evidence of a violation of a condition of supervision; failure to submit to a search may be
 grounds for revocation; the defendant shall inform any other residents that the premises may be subject to a search
 pursuant to this condition.

 3. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
 negotiating or consummating any financial contracts without the approval of the probation officer.

 4. Report to Probation Officer After Release from Custody - You shall report, in person, to the probation office in the
 district to which you are released within 72 hours of discharge from custody.

 5. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
 including personal income tax returns, authorization for release of credit information, and any other business financial
 information in which you have a control or interest.

 6.   Deportation Compliance - If deported, you shall not reenter the United States without legal authorization.




      ACKNOWLEDGEMENT


      Upon finding of a violation of probation or supervised release, I understand that the court may
      (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
      supervision.

      These conditions have been read to me. I fully understand the conditions and have been provided
      a copy of them.


      (Signed)            _________________________                             ______________________
                          Defendant                                             Date


                        ___________________________                             _______________________
                        U.S. Probation/Designated Witness                       Date
                Case 2:11-cr-00434-RFB-PAL                       Document 626            Filed 09/12/14       Page 8 of 13
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page      5     of         6
DEFENDANT: DELYANA NEDYALKOVA
CASE NUMBER: 2:11-CR-434 LDG-PAL-10
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                        Fine                              Restitution
TOTALS            $ 100.00                                            $ 0.00                            $ 84,000.00


G The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victim s must be paid
     before the United States is paid.

Name of Payee                                                            Total Loss*         Restitution Ordered Priority or Percentage
 see attached Restitution List                                                                         $84,000.00




TOTALS                              $                          0.00         $               84,000.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the             G fine    G restitution.
     G the interest requirement for the              G fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 foroffenses committed on or after
September 13, 1994, but before April 23, 1996.
                 Case 2:11-cr-00434-RFB-PAL                        Document 626              Filed 09/12/14            Page 9 of 13
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                               Judgment — Page       6      of          6
DEFENDANT: DELYANA NEDYALKOVA
CASE NUMBER: 2:11-CR-434 LDG-PAL-10

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ✔ Lump sum payment of $
     G                                     84,100.00            due immediately, balance due

          G not later than                                           , or
          ✔ in accordance
          G                              G C,         G D,     G       E, or     G F below; or
B    G Payment to begin immediately (may be combined with                      G C,       G D, or      G F below); or
C    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
           RESTITUTION SHALL BE PAID AT A RATE OF 10% OF ANY INSTITUTIONAL WAGES FOLLOWED BY
           MONTHLY PAYMENTS OF 10% OF GROSS INCOME WHILE ON SUPERVISION, SUBJECT TO ADJUSTMENT
           BASED ON ABILITY TO PAY.



Unless the court has expressly ordered otherwise, if this judgm
                                                              ent imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All crim inal monetary penalties, exce pt those payments made through the Federal Bureau of Prisons’ Inm ate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



✔ Joint and Several
G
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

      Joint and Several with lead defendant, Eduard Petroiu, 2:11-CR-434 LDG-PAL-1




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
      See attached Order of Forfeiture



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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Case 2:11-cr-00434-RFB-PAL   Document 626   Filed 09/12/14   Page 11 of 13
Case 2:11-cr-00434-RFB-PAL   Document 626   Filed 09/12/14   Page 12 of 13




                        EXHIBIT B
     Case 2:11-cr-00434-RFB-PAL Document 626 Filed 09/12/14   Page 13 of 13
                             U.S. v. Delyana Nedyalkova
                               2:11-cr-00434-LDG-PAL
                                   Restitution List




Blake Gill                        $4,464.49
Brandon Pope                      $4,664.49
Crystal Ortega                    $2,964.49
Eric Turnquist                    $4,764.49
German Vehicle Services, Inc.     $7,764.49
Harold Ochsner                    $3,933.53
Holly Wyrick                      $4,364.49
Joan & Clifford Beverly           $7,464.49
Lonnie Bailey                     $4,664.49
Philip M. Cavanagh               $12,964.49
Robert Holland                    $3,842.59
Roy Jaime Laureano                $7,764.49
Shawna Jasper                     $1,914.49
Stephen E. Kelly                 $12,464.49

TOTAL                            $84,000.00
